Case 1:10-cv-OO489-BI\/|K-NONE Documentl Filed 08/24/10

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WAIANAE COAST COMPREHENSIVE HEALTH
CENTER, AUDREY TALEFF, APRN-RX,
JEFFREY CHING, M.D.; MARC E.
PATRICK, PA; JOSEPH TURBAN, M.D.;
DAVID R. JONES, M.D.; and ROBERT
BONHAM, M.D.

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UN|TED STATES D|ST
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D$ FHAWMHOURT
§§ AUG 24 2010
at ’dockand

SUE BE|TIA, CLE‘RK M

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

GARY VANNATTA, CIVIL NO.Q

Plaintiff, (Civil NO.

 

10-1-1407*06 KKS Of

the First Circuit, State Of

vS. Hawaii)
WAIANAE COAST COMPREHENSIVE
HEALTH CENTER; AUDREY TALEFF,

MARC E. PATRICK, PA; JOSEPH
TURBAN, M.D.; DAVID R. JONES,
M.D.; ROBERT BONHAM, M.D.; and
DOES l-lOO

SERVICE

Defendants.

 

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) NOTICE OF REMOVAL OF cIvIL
) ACTJ:ON,- EXHIBIT "A";
APRN-Rx,- JEFFREY CHING, M.D.,- ) CERTIFICATION OF FLORENCE T.
) NAKAKUNI,- CERTIFICATE OF
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NOTICE OF REMOVAL OF CIVIL ACTION

COm€S HOW, WAIANAE COAST COMPREHENSIVE HEALTH CENTER, AUDREY

TALEFF, APRN-RX, JEFFREY CHING, M.D.; MARC E.

PATRICK, PA; JOSEPH

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TURBAN, M.D.; DAVID R. JONES, M.D.; ROBERT BONHAM, M.D., by and
through their undersigned attorneys, Florence T. Nakakuni, the
United States Attorney for the District of Hawaii and Assistant
United States Attorney Thomas A. Helper, and set forth the
following facts on their behalf:

l. On June 29, 2010, Plaintiff Gary Vannata's Complaint;
Summons was filed against Waianae Coast Comprehensive Health
Center; Audrey Taleff, APRN-RX; Jeffrey Ching, M.D.; Marc E.
Patrick, PA; Joseph Turban, M.D.; David R. Jones, M.D.; Robert
Bonham, M.D., in the Circuit Court of the First Circuit, State of
Hawaii. This Circuit Court action is numbered Civil No. lO-l-
1407-06 KKS.

2. A copy of Plaintiff's Complaint; Summons relating to
the Circuit Court action regarding Waianae Coast Comprehensive
Health Center; Audrey Taleff, APRN-Rx; Jeffrey Ching, M.D.; Marc
E. Patrick, PA; Joseph Turban, M.D.; David R. Jones, M.D.; Robert
Bonham, M.D. Was provided to the United States Attorney on
July 14, 2010. A copy of Plaintiff's Complaint; Summons is
attached hereto as Exhibit "A".

3. In Plaintiff's Complaint, Plaintiff alleges that_
employees of Waianae Coast Comprehensive Clinic are or may be
liable in tort for medical malpractice negligence.

4. This notice of removal is filed pursuant to 28 U.S.C. §

l442(a)(l) and 28 U.S.C. § 233(c).

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5. Upon removal of this matter to the United States
District Court, the United States of America will substitute the
United States of America as the defendant in place of Waianae
Coast Comprehensive Health Center, Audrey Taleff, APRN-RX,
Jeffrey Ching, M.D., Marc E. Patrick, PA, Joseph Turban, M.D.,
David R. Jones, M.D. and Robert Bonham, MrD.

6. As noted in the attached declaration of Florence T.
Nakakuni, at the time of the incidents alleged in the complaint,
defendants Audrey Taleff, APRN-Rx, Jeffrey Ching, M.D., Marc E.
Patrick, PA, Joseph Turban, M.D., David Rl Jones, M.D., and
Robert Bonham, M.D. were acting within the course and scope of
their duties as employees of Waianae Coast Comprehensive Health
Center, and Waianae Coast Comprehensive Health Center is a
federal entity for the purposes of the Federal Tort Claims Act
pursuant to the Federally Supported Health Centers Assistance
ACt, 42 U.S.C§ § 233(g)-(n).

WHEREFORE, Defendants Waianae Coast Comprehensive Health
Center, Audrey Taleff, APRN-Rx, Jeffrey Ching, M.D., Marc E.
Patrick, PA, Joseph Turban, M.D., David R. Jones, M.D. and Robert

Bonham, M.D. give notice that the above-action now pending

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against them in the Circuit Court of the First Circuit, State of

Hawaii, is removed therefrom to this court.

DATED: AuguSt 24 ,

2010,

at Honolulu, Hawaii.

FLORENCE T. NAKAKUNI
United States Attorney
District of Hawaii

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THoMAs A.V HELPER

Assistant U.S. Attorney
Attorneys for Defendants
WAIANAE COAST COMPREHENSIVE
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TURBAN, M.D.; DAVID R. JONES,
M.D.; and ROBERT BONHAM, M.D.

